       Case 2:02-cr-00275-TSZ          Document 79   Filed 10/28/05   Page 1 of 2



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 5
                              UNITED STATES DISTRICT COURT
 6                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
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 8
      UNITED STATES OF AMERICA,
 9
                          Plaintiff,                         No. CR02-275Z
10
      v.
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                                                             ORDER ON LIMITED REMAND
      JAMES LEE WRIGHT
12
                          Defendant.
13
      ____________________________________
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      UNITED STATES OF AMERICA,
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                           Plaintiff,
16
      v.
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      TRACEY LYNN WRIGHT,
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                            Defendant.
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21         This matter comes before the Court as a result of a LIMITED REMAND Order of the
22   Ninth Circuit Court of Appeals pursuant to United States v. Ameline, 409 F.3d 1073, (9th
23   Cir. 2005) (en banc). In accord with the limited remand procedures adopted in United States
24   v. Ameline, each party may file a supplemental pleading addressing the sole question of
25   whether the Court’s sentencing decision “would have been materially different had the Judge
26   been aware that the Guidelines were advisory.” Ameline, 409 F.3d at 1079. The parties

     ORDER -1-
       Case 2:02-cr-00275-TSZ       Document 79      Filed 10/28/05    Page 2 of 2



 1   shall limit their supplemental pleadings to information as of the original sentencing date and
 2   such pleadings, not exceed 10 pages, shall be filed by November 18, 2005. In the
 3   supplemental pleadings, the parties are permitted to advance sentencing arguments
 4   previously barred or deemed “not ordinarily relevant” under pre-Booker guideline analysis.
 5   See United States v. Booker, 160 L.Ed. 621, 125 S. Ct. 738 (2005). Counsel should be
 6   mindful that the question at this point is not whether the defendant should have received a
 7   different sentence. Those questions may be addressed if a resentencing is ordered.
 8          If the Court determines that resentencing is warranted, the Court will vacate the
 9   sentence and schedule a new sentencing hearing with the defendant present. If the Court
10   concludes that the sentencing decision would not have been materially different, the Court
11   will enter an order denying resentencing with an appropriate explanation.
12          IT IS SO ORDERED.
13          DATED this 28th day of October, 2005.
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                                               A
                                               Thomas S. Zilly
                                               United States District Judge
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     ORDER -2-
